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            EXHIBIT 15
                  Case 3:23-cv-03007-VC              Document 84-17           Filed 09/16/24         Page 2 of 2


To:
To:        Lindsay Chapman[Ichapman@twjUer corn]
           Lindsay Chapnnan[lchapman@twittercom]
From:
From:      Mark  Schobinger[mschobingertwjer.com]
           Mark Schobinger[mschobinger@twitter.com]
Sent:
Sent:      Thur 2/23/2023
           Thur           2:10:30 AM
                2/23/2023 2:10:30     (UTC)
                                  AM (UTC)
Subject:
Subject:   Re: PBP
           Re: PBP


That works. I'll
That works.           you tomorrow
                 call you
            I'll call                  130pm pacific
                                    at 130pm
                           tomorrow at               time.
                                             pacific time.

On
On Wed,
   Wed, Feb
        Feb 22,
            22, 2023
                2023 at 8:09 PM
                     at 8:09    Lindsay Chapman
                             PM Lindsay                                 wrote:
                                                < lchapman@twitter.com> wrote:
                                        Chapman <lchapmana,twitter.com>

       Pacific?
  1:30 Pacific?
  1:30

  On
  On Wed,
     Wed, Feb 22, 2023
          Feb 22,      at 6:07
                  2023 at         Mark Schobinger
                               PM Mark
                          6:07 PM                                           wrote:
                                                  <mschobiner(Ztwitter.com> wrote:
                                       Schobinger <mschobinger@twitter.com>

       me know
   Let me
   Let              time works
               what time
          know what                 and IIcan
                               best and
                         works best                you.
                                              call you.
                                          can call

   On
   On Wed,
      Wed, Feb
           Feb 22,
               22, 2023 at 7:44
                   2023 at         Lindsay Chapman
                                PM Lindsay
                           7:44 PM                                           wrote:
                                                   <lchapman(lltwitter. com> wrote:
                                           Chapman <lchapmaratwitter.com>

    Just                                         white paper is
                                             The white         is super  helpful although
                                                                  super helpful             may still
                                                                                 although IImay        need to
                                                                                                 still need    talk it
                                                                                                            to talk            with
                                                                                                                       through with
                                                                                                                    it through
    Just realized IIdidn't
                     didn't respond to
                                    to this.
                                       this. The
    you  to ensure  I correctly grasp the  funding and allocation   options.  Perhaps  we can chat  tomorrow    or Friday.  Thanks!
    you to ensure Icorrectly grasp        funding  and allocation  options.  Perhaps  we  can chat tomorrow    or  Friday.  Thanks!

    On
    On Mon,
       Mon, Feb 13,
                13, 2023
                    2023 at
                         at 8:20
                            8:20 AM Mark Schobinger
                                 AM Mark                                      wrote:
                                                    <mschobiner2ltwitter.com> wrote:
                                         Schobinger <mschobinger@twitter.com>

     Hi Lindsay. IIwas
     Hi Lindsay.       thinking about
                   was thinking                way to
                                      the best way
                                about the            to provide you   with aasummary
                                                                 you with             of how
                                                                             summary of        the PBP
                                                                                         how the        plan
                                                                                                   PBP plan
     works,
     works, and  ended up leveraging
            and ended                    white paper IIstarted
                          leveraging the white                   on the FY22   PBP topic that I've been working
                                                         started on the FY22 PBP topic that I've been working
     on with Lauren/Yabre/Nikki.
     on                                       link to
             Lauren!Yabre/Njkkj. Below is aalink           document.
                                                      the document.
                                                   to the


     This  gives you two things - provides an
     This gives                      -          overview of
                                             an overview          the plan
                                                           of how the        works, and
                                                                       plan works,         also presents
                                                                                      and also                 FY22
                                                                                                           the FY22
                                                                                                presents the
                                                                                   finance provided me.
                                                                FY22 estimates finance
     decision points. IIdid not put in the document the latest FY22                                               to
                                                                                                             But to
                                                                                                        me. But
     underscore how badly we      under-performed, FY22 revenue is
                              we under-performed,                      estimated at
                                                                    is estimated   at         and  EBTTDA
                                                                                              and EBITDA
                                   at                           see how off
                                                   and you can see         off-scale  low (bad)
                                                                              -scale low               is by
                                                                                                  that is
                                                                                           (bad) that                 at
                                                                                                              looking at
                                                                                                          by looking
     (profitability) is estimated at
     (profitability)                             - and -




                                                                        discretion and
     the funding curves on page 5. This is why IIbelieve exercising discretion            not paying
                                                                                     and not                     would
                                                                                                          bonus would
                                                                                              paying aabonus
                                                 of the plan. The optics
                              safe harbor nature of
     be prudent despite the safe                                          of paying
                                                                  optics of            are not
                                                                              paying are       good.
                                                                                           not good.


                                                   of needing aadecision.
                              approached the point of
     In any event, we have approached                                     Reason being
                                                                decision. Reason                   we do
                                                                                         anything we
                                                                                  being anything           here
                                                                                                       do here
             100% manual, and
     will be 100%             and within the US we need to be conscious ofof 409A  short-term  deferrals (avoiding
                                                                             409A short-term deferrals (avoiding
     issues by ensuring   we pay  out the award
                                          award by mid-March ).
                                                   mid-March).  Not  an issue if                      pay. But
                                                                                          fund/don't pay.
                                                                              if we don't fund/don't            if
                                                                                                           But if
     issues
     we do fund, then keeping the allocation as simple
     we                                                                                    (which  is an argument
                                                  simple as possible becomes paramount (which is an argument
             differentiating).
     for not differentiating).

     https ://docs .google. com/document/d/ 14vRAFAbs2Bt5Lpj SB 99K5GeDBwkwccIGG 17TFLqocKA
     https://docs.google.com/document/d/14vRAFAbs2Bt5LpjSB99K5GeDBwkwccIGG17TFLqocKA/edit?  /edit?
     usp=sharing
     usp=sharing

     Regards,
     Mark



     Mark Schobinger II
     Mark                      Compensation
                       Head of Compensation
                      Head                                                                                     EXHIBIT
                                                                                                               EXHIBIT2Z    22.
                                                                                                               WIT: _____y21
                                                                                                                     5a    zsi ki .9 e t
   Mark Schobinger II
                    Head     Compensation
                     Head of Compensation                                                                     DATE:
                                                                                                              DATE:   gg.2Z,4
                                                                                                                        • 2 ' 2 A-1
                                                                                                              SHARON       CSR, CRR,
                                                                                                                     ROSS, CSR,
                                                                                                              SHARON ROSS,           RMR
                                                                                                                                CRR, RMR

Mark Schobinger II       Compensation
                 Head of Compensation
                                      PROTECTIVE ORDER
            CONFIDENTIAL SUBJECT TO PROTECTIVE
            CONFIDENTIAL
                                                                                          X-SCHOBINGER 000000133
                                                                                          X-SCHOBINGER_000000133
